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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                     SAVANNAH DIVISION

JOSEPH LAMAR MEDLOCK,                  )
     Movant,                           )
v.                                         )       Case No. CV416-251
                                       )                    CR413-007
UNITED STATES OF AMERICA,              )
     Respondent.                       )

                                   ORDER

      Let a copy of this Report and Recommendation be served upon counsel for

the parties. Any objections to this Report and Recommendation must be filed

with the Clerk of Court not later than October 6, 2016. The Clerk shall submit

this Report and Recommendation together with any objections to the Honorable

William T. Moore, Jr., United States District Judge, on October 7, 2016. Failure to

file an objection within the specified time means that this Report and

Recommendation may become the opinion and order of the Court, Nettles v.

Wainwright, 677 F.2d 404 (5th Cir. 1982), and further waives the right to appeal

the District Court's Order. Thomas v. Arn, 474 U.S. 140 (1985).

      All requests for additional time to file objections to this Report and

Recommendation should be filed with the Clerk for consideration by the District

Judge to whom this case is assigned.

      SO ORDERED this 22nd day of September, 2016.

                                                    UNITED STATES MAGISDATE JUDGE
                                                    SOUTHERN DISTRICT OF GEORGIA
